                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA



UNITED STATES OF AMERICA                        )
                                                )
                                                )           No. 1:02-CR-187
v.                                              )
                                                )           Judge Curtis L. Collier
                                                )
DANIEL S. GEIGER                                )


                                           ORDER

       Defendant Daniel S. Geiger has filed a pro se motion requesting the Court to strike three of

the Government’s filings because he has not been served with a copy of the filings (Court File No.

363). Defendant’s motion to strike Court File Numbers 357, 358, and 359 is DENIED. Each of the

Government’s filings are timely and properly before the Court. However, the Court ORDERS the

Clerk of Court to MAIL the Government’s three filings along with this Order to Defendant at the

following address:

       40375-074
       Taft Correctional Institution
       PO Box 7001 A4B
       Taft, CA 93268


       SO ORDERED.

       ENTER:

                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE




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